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             Exhibit 27
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                                                  Trademark Trial and Appeal Board Electronic Filing System. http://estta.uspto.gov
                                                                        ESTTA Tracking number:           ESTTA626146
                                                                                      Filing date:         09/09/2014
                            IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                              BEFORE THE TRADEMARK TRIAL AND APPEAL BOARD

                                             Petition for Cancellation
     Notice is hereby given that the following party requests to cancel indicated registration.

     Petitioner Information
      Name                  Industria de Alimentos Zenu S.A.S.
      Entity                Sociedad por Acciones Sim-        Citizenship               Colombia
                            plifica
      Address               Calle 2, No. 50-561
                            Medellin,
                            COLOMBIA

      Attorney informa-     Keith E. Sharkin
      tion                  Reed Smith LLP
                            599 Lexington Avenue
                            New York, NY 10022
                            UNITED STATES
                            nycipdocketing@reedsmith.com, clackert@reedsmith.com, kshar-
                            kin@reedsmith.com, jgoodwill@reedsmith.com Phone:212-521-5400

     Registration Subject to Cancellation
      Registration No       4402942                           Registration date         09/17/2013
      Registrant            ZENU PRODUCTS INC.
                            165 KEYLAND COURT
                            BOHEMIA, NY 11716
                            UNITED STATES

     Goods/Services Subject to Cancellation
      Class 029. First Use: 2011/01/01 First Use In Commerce: 2011/01/01
      All goods and services in the class are cancelled, namely: Bologna; Canned cooked meat; Canned
      fish; Chorizo; Hot dogs; Preserved meats and sausages; Processed meat; Sausages; Tuna fish

     Grounds for Cancellation
      Deceptiveness                                           Trademark Act section 2(a)
      False suggestion of a connection                        Trademark Act section 2(a)
      Torres v. Cantine Torresella S.r.l.Fraud                808 F.2d 46, 1 USPQ2d 1483 (Fed. Cir. 1986)
      The registration is being used by, or with the per-     Trademark Act section 14
      mission of, the registrant so as to misrepresent
      the source of the goods or services on or in con-
      nection with which the mark is used.
      Priority and likelihood of confusion                    Trademark Act section 2(d)
      Other                                                   Pan-American Convention
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     Mark Cited by Petitioner as Basis for Cancellation
      U.S. Application     79147515                        Application Date     03/12/2014
      No.
      Registration Date    NONE                            Foreign Priority     NONE
                                                           Date
      Word Mark            ZENU
      Design Mark




      Description of       NONE
      Mark
      Goods/Services       Class 029. First use: First Use: 0 First Use In Commerce: 0
                           Meat, fish, poultry and game; meat extracts; canned, frozen, dried and cooked
                           fruits and vegetables; jellies, jams, compotes; eggs; milk and dairy products; ed-
                           ible oils and fats


      Attachments          79147515#TMSN.png( bytes )
                           Petition for Cancellation.pdf(340866 bytes )


                                              Certificate of Service
     The undersigned hereby certifies that a copy of this paper has been served upon all parties, at their address
     record by First Class Mail on this date.


      Signature            /Keith E. Sharkin/
      Name                 Keith E. Sharkin
      Date                 09/09/2014
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